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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                   Tampa Division
  ____________________________________
                                       )
  KEITH STANSELL, et al.,             )
                                      )
        Plaintiffs,                   )
                                      )
  v.                                  )      Case No. 8:09-cv-2308-T-36AAS
                                      )
  REVOLUTIONARY ARMED FORCES          )
  OF COLUMBIA, et al.                 )
                                      )
        Defendants.                   )
  ____________________________________)



                STATEMENT OF INTEREST OF THE UNITED STATES
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                                   PRELIMINARY STATEMENT

          The United States of America respectfully submits this Statement of Interest pursuant to

  28 U.S.C. § 517 1 to address: (1) where assets blocked pursuant to the Foreign Narcotics Kingpin

  Designation Act (“Kingpin Act”), 21 U.S.C. §§ 1901-08, satisfy the requirements of Section 201

  of the Terrorism Risk Insurance Act (“TRIA” or “Terrorism Act”), 28 U.S.C. § 1610 note,

  whether TRIA overrides any otherwise applicable regulatory requirement of a license; and (2)

  whether 31 C.F.R. § 598.205(c) contemplates the issuance of a license in the circumstances

  presented by Plaintiffs’ Motion for a TRIA Turnover Judgment (“Plaintiffs’ Motion”), Dkt. No.

  1185.

          These issues arise the context of a motion by Plaintiffs, the victims of a terrorist actions

  in Columbia, to enforce a default judgment against the Revolutionary Armed Forces of Columbia

  (“FARC”), a Colombian guerrilla group. They seek to enforce this judgment, in part, through a

  turnover order against certain specified assets held by a garnishee bank, Ocean Bank, of Aero

  Continente S.A. (“Aero Continente”), an entity which has been both determined by this Court to

  be an agency or instrumentality of the FARC, and separately designated by the Department of

  the Treasury’s Office of Foreign Assets Control (“OFAC”) as a Specially Designated Narcotics

  Trafficker (“SDNTK”) pursuant to the Kingpin Act. See Dkt. No. 1185 (Plaintiffs’ Motion).

          On March 25, 2019, the Magistrate Judge issued a Report and Recommendation

  (“Magistrate’s Report”), recommending that Plaintiffs’ Motion be granted. Dkt. No. 1194.

  However, the Magistrate’s Report specifically declined, as requested by Plaintiffs, to recommend



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    Pursuant to 28 U.S.C. § 517, “[t]he Solicitor General, or any officer of the Department of
  Justice, may be sent by the Attorney General of the United States to attend to the interests of the
  United States in a suit pending in a court of the United States, or in the courts of a State, or to
  attend to any other interest of the United States.”

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  that the Court’s order contain an instruction that “no OFAC license is required to turn over the

  garnished funds to Plaintiffs.” Id. at *7-8. Instead, the Magistrate’s Report recommended that

  the Court find that (1) a license is required in the circumstances presented, but that (2) OFAC’s

  regulations permit Plaintiffs to obtain the required license subsequent to execution of the relevant

  assets. Id. at *8-9.

           For the reasons set forth in detail below, both of these recommendations rest on

  erroneous constructions of the relevant statutes and regulations. Under the Anti-Terrorism

  Clarification Act of 2018 (“Clarification Act”), Pub. L. 115-253, 18 U.S.C. § 2333(e), no license

  is required in the circumstances presented by Plaintiffs’ Motion. Further, the Magistrate’s

  Report also misreads certain OFAC regulations, and incorrectly assumes that OFAC would issue

  a license in order to provide an ex post authorization for what, under the reasoning of the

  Magistrate’s Report, would be an otherwise null and void transaction. The United States sets

  forth these analytical errors for the Court’s awareness as the Court reviews the Magistrate’s

  Report and adjudicates Plaintiffs’ Motion.

                                            BACKGROUND

      I.      The Terrorism Risk Insurance Act and the Clarification Act of 2018
           TRIA, originally enacted in 2002, governs post-judgment attachment proceedings in

  certain cases arising out of terrorist acts—including, as relevant here, judgments such as the one

  held by Plaintiffs—under the civil remedies provision of the Anti-Terrorism Act, 18 U.S.C.

  § 2333. As later amended, TRIA Section 201 provides that:

           Notwithstanding any other provision of law, and except as provided in subsection
           (b) [of this note], in every case in which a person has obtained a judgment against
           a terrorist party on a claim based upon an act of terrorism, or for which a terrorist
           party is not immune under section 1605A or 1605(a)(7) (as such section was in
           effect on January 27, 2008) of title 28, United States Code, the blocked assets of
           that terrorist party (including the blocked assets of any agency or instrumentality
           of that terrorist party) shall be subject to execution or attachment in aid of

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         execution in order to satisfy such judgment to the extent of any compensatory
         damages for which such terrorist party has been adjudged liable.

  Pub. L. No. 107-297, 116 Stat. 2322 (codified at 28 U.S.C. § 1610 note) (emphasis added).

         The term “blocked assets” is defined at Section 201(d)(2) of TRIA to include:

         [A]ny asset seized or frozen by the United States under section 5(b) of the
         Trading With the Enemy Act [(“TWEA”)] [now 50 U.S.C. § 4305(b)] or under
         sections 202 and 203 of the International Emergency Economic Powers Act
         [(“IEEPA”)] (50 U.S.C. [§§] 1701; 1702) [excluding certain assets subject to U.S.
         Government licenses and other diplomatic property].

  28 U.S.C. § 1610 note.

         Although this definition of “blocked assets,” as originally enacted, did not encompass

  assets seized or frozen under the Kingpin Act, in 2018 the Clarification Act expressly expanded

  the term’s scope to bring such assets with TRIA’s purview. Specifically, Section 3 of the

  Clarification Act amends the civil remedies provision of the Anti-Terrorism Act, 18 U.S.C.

  § 2333, to include a sub-section providing that:

         For purposes of section 201 of the Terrorism Risk Insurance Act of 2002 (28
         U.S.C. 1610 note), in any action in which a national of the United States has
         obtained a judgment against a terrorist party pursuant to this section, the term
         “blocked asset” shall include any asset of that terrorist party (including the
         blocked assets of any agency or instrumentality of that party) seized or frozen by
         the United States under section 805(b) of the Foreign Narcotics Kingpin
         Designation Act (21 U.S.C. 1904(b)).

  18 U.S.C. § 2333(e) (emphasis added).

         Thus, under the plain terms of the Clarification Act, assets seized or frozen under the

  Kingpin Act (that otherwise meet TRIA’s requirements for turnover) qualify as “blocked assets”

  under TRIA. Further, TRIA expressly provides that such assets are “subject to execution or

  attachment” “notwithstanding any other provision of law.” 28 U.S.C. § 1610 note.




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      II.      Plaintiffs’ Default Judgment against the FARC and the Instant Turnover
               Judgment Motion

            Plaintiffs hold a default judgment under the Anti-Terrorism Act for $318,030,000 in

  compensatory damages against the FARC. On September 6, 2011, Plaintiffs obtained a court

  order in this litigation, to the effect that, inter alia, Aero Continente is an agency or

  instrumentality of the FARC, because it is “involved in the cultivation, manufacture, processing,

  purchase, sale, trafficking, security, storage, shipmen or transportation, [or] distribution of FARC

  coca paste or cocaine.” Dkt. No. 322 p. 6 ¶ 15. On this basis, the Court issued a writ of

  garnishment against Aero Continente’s assets held by Ocean Bank. Id. p. 12 ¶ 28(i). As the

  Court also noted in its September 6, 2011 order, Aero Continente is additionally separately

  designated by OFAC as an SDNTK. Id. p. 14 ¶ 29.

            Subsequently, the Eleventh Circuit held that assets frozen under the Kingpin Act are not

  “blocked assets” within the meaning of TRIA Section 201—and thus, are not available for the

  enforcement of judgments under the Anti-Terrorism Act. Stansell v. FARC, 704 F.3d 910 (11th

  Cir. 2013) (“Stansell I”). Following this decision, this Court stayed execution on the writs of

  garnishment it had previously issued against assets frozen under the Kingpin Act, including Aero

  Contintente’s assets at Ocean Bank. Dkt. Nos. 562, 592.

            On October 3, 2018, Congress enacted the Clarification Act, pursuant to which (as

  explained above) TRIA’s definition of “blocked assets” was expanded to include assets blocked

  pursuant to the Kingpin Act. 18 U.S.C § 2333(e). On October 5, 2018, on the basis of this

  change in law, Plaintiffs moved for a renewed writ of garnishment against Aero Continente’s

  assets held by Ocean Bank, and to the lift the Court’s stay on the issuance and enforcement of

  Kingpin Act writs. Dkt. No. 1161. On November 13, 2018, the Court granted this motion. Dkt.

  No. 1166.

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          On January 3, 2019, Plaintiffs filed a motion for a TRIA turnover judgment as to

  $928,756.29 of Aero Continente’s assets held by Ocean Bank. Dkt. No. 1185. On March 25,

  2019, the above-discussed Magistrate’s Report recommended that this motion be granted, but

  specifically declined, as requested by Plaintiffs, to recommend that the Court’s order contain an

  instruction that “no OFAC license is required to turn over the garnished funds to Plaintiffs.”

  Dkt. No. 1194 at *7-8. Instead, the Magistrate’s Report recommended that the Court find that

  (1) a license is required in the circumstances here presented, but that (2) OFAC’s regulations

  permit Plaintiffs to obtain the required license subsequent to execution of the relevant assets. Id.

  at *8-9.

                                            DISCUSSION

          As set forth below, the Magistrate’s Report contains two analytical errors. First, under

  the Clarification Act, no license is required in the circumstances presented by Plaintiffs’ Motion.

  Second, 31 C.F.R. § 598.205(c) does not contemplate the issuance of a license, including where

  (as here) none is required.

     I.      No OFAC License Is Required for TRIA Execution of Assets Blocked under the
             Kingpin Act.

          The Magistrate’s Report concludes that “although the newly amended Terrorism Act now

  allows judgment creditors to execute assets blocked under the Kingpin Act, [OFAC’s]

  regulations appear to still require the judgment creditor, who wants to execute Kingpin-Act

  assets, to obtain an OFAC license.” Dkt. No. 1194 at *8 (citing 31 C.F.R. §§ 598.205,

  598.314(b)).

          Respectfully, this conclusion conflicts with the plain language of TRIA Section 201 and

  the Clarification Act. As set forth above, TRIA Section 201 provides that “[n]otwithstanding

  any other provision of law … the blocked assets of [a] terrorist party [against which a judgment


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  has been entered] (including the blocked assets of any agency or instrumentality of that terrorist

  party) shall be subject to execution or attachment in aid of execution in order to satisfy such

  judgment to the extent of any compensatory damages for which such terrorist party has been

  adjudged liable.” 28 U.S.C. § 1610 note. Accordingly, to the extent that assets are subject to

  TRIA, Section 201 overrides otherwise applicable OFAC regulations requiring that a license be

  obtained before an asset owned by a terrorist party or its agent or instrumentality can be attached.

  See, e.g., Estate of Heiser v. Bank of Tokyo Mitsubishi UFJ, New York Branch, 919 F. Supp. 2d

  411, 422 (S.D.N.Y. 2013) (“[I]n the event a court determines that blocked assets are subject to

  TRIA, those funds may be distributed without a license from OFAC.”); see also Amicus Brief of

  the United States, Harrison v. Republic of Sudan, No. 14-121, Dkt. No. 101 (2d Cir. Nov. 6,

  2015), at 7 (statement of the United States, informing the Court of its position on this issue);

  Statement of Interest of the United States, Martinez v. Republic of Cuba, No. 07 Civ. 6607, ECF

  No. 79 (S.D.N.Y. Oct. 16, 2015), at 6-7 (same). In short, TRIA’s express application

  “notwithstanding any other provision of law” obviates any otherwise applicable regulatory

  licensing requirement, where the asset in question qualifies as a “blocked asset” within the

  meaning of TRIA Section 201 and the other requirements of that section are met. Under the

  plain terms of the Clarification Act, assets seized or frozen under the Kingpin Act meet the

  definition of “blocked assets.”

         The Magistrate’s Report concludes, incorrectly, that OFAC’s regulations require a

  different result. The Magistrate’s Report notes that in Stansell v. FARC, 771 F.3d 713 (11th Cir.

  2014) (Stansell II), the Eleventh Circuit properly concluded that, at the time of that decision,

  “[j]udgment creditors seeking to execute property under the Kingpin [A]ct” were required to

  “obtain a license from OFAC.” Dkt. No. 1194 at *7 (citing Stansell II, 771 F.3d at 734).



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  Specifically, citing OFAC regulations, 31 C.F.R. §§ 598.205(a), (e), 598.314(b), Stansell II held

  that “where [an entity] is designated pursuant to the Kingpin Act and the Foreign Narcotics

  Kingpin Sanctions Regulations,” a party seeking to execute or attach that party’s blocked assets

  was required by the cited regulations to obtain a license from OFAC. 771 F.3d at 734. The

  Magistrate’s Report concludes from the fact that the cited regulations “contain the same

  language today that the regulations had when Stansell II issued” that “the regulations appear to

  still require the judgment creditor, who wants to execute Kingpin Act assets, to obtain an OFAC

  license.” Dkt. No. 1194 at *8.

           But, for the reasons set forth above, this conclusion is foreclosed by TRIA’s express

  language, which, again, provides for application of its rule—expanded by the Clarification Act to

  encompass assets seized or frozen pursuant to the Kingpin Act—“[n]otwithstanding any other

  provision of law.” 28 U.S.C. § 1610 note. Thus, where assets that are blocked under the

  Kingpin Act now fall within the scope of TRIA, TRIA overrides any otherwise applicable

  regulatory requirement, including those set forth in 31 C.F.R. Part 598. That these regulations

  have not changed since the issuance of Stansell II has no bearing on this analysis.

     II.      31 C.F.R. § 598.205(c) Does Not Provide for Issuance of a License in the
              Circumstances Presented.

           The Magistrate’s Report further concludes that, although an OFAC license is required in

  the circumstances presented by Plaintiffs’ Motion,

           [T]he OFAC regulations appear to allow judgment creditors to execute property
           before obtaining an OFAC license. See 31 C.F.R. § 598.205(c) (2018) (stating
           that an OFAC license issued ‘before, during, or after a transfer shall validate such
           transfer or make it enforceable’). Therefore, although an OFAC license appears
           necessary to execute Kingpin-Act assets, under the OFAC regulations, the court
           may allow the plaintiffs to execute Aero Continente’s assets at Ocean Bank before
           obtaining an OFAC license.

  Dkt. No. 1194, at *8.


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         Even setting aside that, as explained above, any regulatory requirement for a license here

  is overridden by TRIA, the Magistrate Judge’s analysis otherwise misreads the cited OFAC

  regulation even where it is applicable. The regulation provides:

         Unless otherwise provided, an appropriate license or other authorization issued
         by or pursuant to the direction or authorization of the Director of the Office of
         Foreign Assets Control before, during, or after a transfer shall validate such
         transfer or make it enforceable to the same extent that it would be valid or
         enforceable but for the provisions of the Foreign Narcotics Kingpin Designation
         Act, this part, and any regulation, order, directive, ruling, instruction, or license
         issued pursuant to this part.

  31 C.F.R. § 598.205(c) (emphasis added).

         Thus, 31 C.F.R. § 598.205(c) simply provides that where—in “appropriate”

  circumstances—OFAC issues a license respecting Kingpin Act assets, the license will “validate”

  an otherwise null and void transaction, regardless of when the license issues. Id. It does not

  contemplate the issuance of a license when no license is required to enable a particular

  transaction—e.g., where TRIA overrides any otherwise applicable licensing requirement.

         Under the reasoning of the Magistrate’s Report, Plaintiffs’ attachment of the Ocean Bank

  funds would be a null and void transaction in the absence of a license. The Magistrate’s Report

  nonetheless recommends that this “null and void” attachment may be authorized by a court on

  the assumption that OFAC will issue a license in order to provide an ex post authorization for the

  transaction. This conclusion is unfounded: 31 C.F.R. § 598.205(c) does not contemplate the

  issuance of a license where none is required, and does not require OFAC to issue one here. And

  even in circumstances (not present here) where a license is, in fact, required, courts should not

  issue attachment orders on the assumption that OFAC will later license those transfers; rather,

  where a license is required, a court should require the judgment creditor to obtain the necessary

  license as a condition precedent to any attachment.



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                                            CONCLUSION

          For the reasons set forth above, the district court should correct two analytical errors in

   the Magistrate’s Report. First, under the Clarification Act, no license is required in the

   circumstances presented by Plaintiffs’ Motion. Second, 31 C.F.R. § 598.205(c) does not

   contemplate the issuance of a license, where (as here) none is required.


   Dated: April 26, 2019                             Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on April 26, 2019, I filed the foregoing via the CM/ECF system,

   which will send a Notification of Electronic Filing to all counsel of record.


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